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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

JOHN DOE,                               )
                                        )
             Plaintiff,                 )
                                        )
      v.                                )     No. 2:23-cv-00423-JAW
                                        )
SARA SMITH,                             )
                                        )
             Defendant,                 )
                                        )
MAINE TRUST FOR LOCAL                   )
    NEWS, L3C,                          )
                                        )
             Intervenor.                )

                          ORDER ON MOTION TO UNSEAL

       An intervening local newspaper brings a motion to unseal the sealed court

docket entries in a case in which the winner of a lottery has filed suit to enforce the

provisions of a non-disclosure agreement against his former partner, the mother of

their minor child. After the Court reviews the state of the law on public access to

judicial records in the First Circuit, the Court rules on each docket entry and orders

each either to remain sealed or be unsealed and has issued a redacted version of this

order pending any appeal.

I.    BACKGROUND

      A.      The Complaint and Sealing Orders

      On November 14, 2023, John Doe, acting under a pseudonym, filed a civil

action in this Court against Sara Smith, another pseudonym, asserting that she

breached a Non-Disclosure Agreement (NDA) and caused the Plaintiff damages.
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Compl. (ECF No. 1). The Plaintiff also sought equitable relief, including an injunction

against Ms. Smith. Id. at 6. In the complaint, Mr. Doe alleges that he was the winner

of the Maine State Lottery, Id. ¶ 5, that Ms. Smith is the mother of his minor

daughter, Id. ¶ 6, and that Ms. Smith entered into a NDA to “promote the safety and

security of John Doe, [herself], and their daughter” and to avoid “the irreparable

harm of allowing the media or the public in general to discover, inter alia, John Doe’s

identity, physical location, and assets.” Id. ¶ 7.

      Mr. Doe filed several motions to seal documents filed in this case based on his

view that the revelation of his name will cause him irreparable harm, and the Court

has granted those motions. See, e.g., Mot. for Leave to Proceed Under Pseudonym and

for Protective Order (ECF No. 4) (under seal); Order (ECF No. 6); Emer. Mot. to Seal

Def.’s Mot. for Sanctions (ECF No. 34) (under seal); Order (ECF No. 35). Since then,

the Magistrate Judge has suggested that the “Plaintiff appears to be under the

misimpression that this case will be conducted entirely under seal” and reminded the

Plaintiff that if he wants a document sealed, he must comply with Local Rule 7A.

Order (ECF No. 66).

      B.      Maine Trust’s Intervenor Status and Motion to Unseal

      On February 20, 2024, the Maine Trust for Local News, L3C d/b/a Portland

Press Herald/Maine Sunday Telegram (the Maine Trust) moved to intervene in this

lawsuit with a view toward moving to unseal the docket entries. Mot. to Intervene by

Me. Trust for Local News at 1-4. On February 21, 2024, Sara Smith quickly responded

and stated that not only did she not object to the Maine Trust’s motion to intervene



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but that she had objected to various motions to seal by John Doe. Def.’s Resp. to Me.

Trust’s Mot. to Intervene (ECF No. 47) (Def.’s Resp.). On March 6, 2024, John Doe

filed his opposition to the Maine Trust’s motion to intervene. Pl.’s Resp. in Opp’n to

Mot. to Intervene by Me. Trust for Local News (ECF No. 53) (Pl.’s Opp’n). On March

18, 2024, the Maine Trust filed its reply. Reply in Support of Mot. to Intervene by the

Me. Trust for Local News (ECF No. 58) (Me. Trust Reply). On March 22, 2024, the

Court granted the Maine Trust’s motion to intervene. Order on Mot. to Intervene

(ECF No. 60).

      On February 20, 2024, the Maine Trust also filed a motion to unseal the

documents in four docket entries. Mot. to Unseal by Intervenor Me. Trust for Local

News (EFC No. 43) (Mot. to Unseal). On March 12, 2024, Ms. Smith objected in part

to the motion to unseal. Def.’s Resp. to Me. Trust’s Mot. to Unseal (ECF No. 54) (Def.’s

Resp.). The same day, Mr. Doe opposed the Maine Trust’s motion to unseal. Pl.’s

Resp. in Opp’n to Mot. to Unseal by Proposed Intervenor Me Trust for Local News

(ECF No. 55) (Pl.’s Opp’n). On March 25, 2024, the Maine Trust replied. Reply in

Supp. of Mot. to Unseal by Intervenor Me. Trust for Local News (ECF No. 63) (Reply).

II.   THE POSITIONS OF THE PARTIES

      A.      The Maine Trust’s Motion

      The Maine Trust moves to unseal “(1) the motion to proceed pseudonymously

(ECF [No.] 3), (2) the sealed motions to seal (ECF [Nos.] 8, 13, 34), (3) the motion to

file a first amended complaint (ECF [No.] 28) and its attachments, including the

proposed amended complaint itself and the non-disclosure agreement, and (4) the



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motion for sanctions (ECF [No.] 31), and the reply (due Feb. 22, 2024).” Mot. to Unseal

at 1. Citing Federal Rule of Civil Procedure 5.2, the Maine Trust represents that it

does not object to “modest redactions, if they are necessary, of factual details about

the parties or about other matters.” Id. The Maine Trust emphasizes that it is not

now moving to depseudonymize the Plaintiff and says that “it cannot effectively do so

without understanding the evidence and argument offered by Plaintiff in support of

pseudonymity at the start of this case.” Id. at 3.

      Citing caselaw from the First Circuit and elsewhere, the Maine Trust sets out

the First Amendment and common law rights of public access. Id. at 3-10. The Maine

Trust suggests that even if the Court is not inclined to unseal all the “factual details

about the parties or other matters,” the Court should still unseal with redactions

“[t]he entirety of the motions, the proposed amended complaint, and the NDA.” Id.

at 9. For example, the Maine Trust says that the Court should reveal the parties’

legal arguments, since they do not implicate the parties’ privacy or safety.         Id.

Specifically, again citing caselaw, the Maine Trust stresses that a motion for

sanctions is typically considered a judicial record and therefore should not be sealed.

Id. at 7. Assuming the documents being requested are judicial documents, the Maine

Trust contends that the presumption of public access has not been rebutted by the

Plaintiff’s concerns about safety and privacy. Id. at 7-8.

      B.      John Doe’s Opposition

      In his opposition, Mr. Doe writes that he “strongly disagrees” with the Maine

Trust’s position and “urges this Court to keep these filings under seal because: (1) the



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confidential subject matter of the sealed filings -- traditionally private and

embarrassing family affairs with no public ramifications -- overrides the public’s

presumptive right of access; and (2) the existing threat of physical and emotional

harm to Plaintiff and his minor daughter is specific and substantiated and outweighs

Maine Trust’s interest in catering to the public’s craving for sensationalism.” Id. at

1-2.

       Citing First Circuit law, Mr. Doe states that “[n]either the First Circuit nor the

Supreme Court recognizes a right under the First Amendment to access documents

filed in civil cases.” Id. at 3. Mr. Doe concedes that the common law presumes a right

of public access to judicial records, but he observes that the First Circuit has

recognized limitations on that presumption, requiring the Court to balance the

competing interests in each request for sealing. Id. at 3. Mr. Doe points out that

“family affairs, illnesses, embarrassing conduct with no public ramifications, and

similar matters” will weigh more heavily against public access. Id.

       Mr. Doe emphasizes that he is a private citizen whose only “claim to fame” is

that he won the lottery. Id. at 4. Not only has he successfully sought to remain

anonymous, but he and Ms. Smith, the mother of their daughter entered into a NDA

“for the sake of their minor daughter.” Id. Mr. Doe says that he has set forth in other

filings the “specific risks, challenges, and harms” he faces if the documents are

unsealed. Id. Specifically, Mr. Doe maintains that Ms. Smith has filed a motion for

sanctions that “sensationalize[s] private claims against Plaintiff that are false and




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irrelevant as well as embarrassing family information with no public value that risks

identifying the parties and their innocent daughter.” Id.

       Mr. Doe reminds the Court that at least one unknown person has discovered

his identity as a result of the pseudonymous lawsuit and has sent him threatening

communications. Id. at 6. Mr. Doe is worried about the risk of “kidnapping and

ransom, virtual kidnapping, and other fraud schemes and threats of extortion”

against not only him but also his minor daughter, and he had a security consultant

analyze the risks from public exposure. Id.

       Mr. Doe rejects redaction as “not a practical option in this case.” Id. at 7. But

if the Court orders redaction, he requests that the Court redact: “(1) the identity of

the parties and their minor daughter, (2) the parties’ private, family affairs, (3) other

legal matters involving the parties, and (4) the identify of Plaintiff’s agents and

business associates.” Id.

       C.      Sara Smith’s Response

       Ms. Smith opposes in part the Maine Trust’s motion. Def.’s Opp’n at 1. First,

she argues that the parties should continue to proceed under pseudonyms in this

litigation.   Id.   Second, she proposes that the parties should continue to redact

personally identifiable information under Rule 5.2.        Id.   Third, she states that

“additional limited redactions should be permitted to avoid exposing the identity of

the parties and their minor child, while respecting the presumption of public access

to judicial records.” Id. (emphasis in original). At the same time, Ms. Smith objects

to Mr. Doe’s over-sealing and over-redacting. Id. Ms. Smith lists those docket entries



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to which she has no objection to unsealing and those to which she objects in part; in

general, other than asking that the parties’ names be redacted, Ms. Smith does not

object to unsealing any of the docket entries in this case. Id. at 2-3.

      D.      The Maine Trust’s Reply

      In its reply, the Maine Trust stresses that at this time, it is not requesting that

the Court disclose the parties’ names, but that it reserves the right to do so after it

reviews what is disclosed. Reply at 1.

      Quoting the First Circuit, the Maine Trust discounts Mr. Doe’s worries about

the public exposure of private and embarrassing information, noting that “the mere

fact that judicial records may reveal potentially embarrassing information is not in

itself sufficient reason to block public access.” Id. at 1-2 (quoting Siedle v. Putnam

Invs., Inc., 147 F.3d 7, 10 (1st Cir. 1998)). The Maine Trust contends that the

information here does not outweigh the strong presumption in favor of disclosure and,

by contrast, cites cases involving allegations of sexual abuse or medical information

as examples of instances where courts often impose sealing restrictions. Id. at 2.

      The Maine Trust is unmoved by Mr. Doe’s security concerns. Id. at 2-3. While

acknowledging that it has not reviewed the threat mentioned by Mr. Doe because it

is under seal, the Maine Trust emphasizes that to override the presumption of public

access a threat cannot be vague or conclusory without evidence of specific fear based

on the release of documents. Id. at 3. The Maine Trust is unimpressed with the

report of the Plaintiff’s security consultant, which it characterizes as trading in broad

generalizations, only amounting to the bromide that “bad things can happen to rich



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people.” Id. The Maine Trust posits that if the Court sealed this case to salve the

Plaintiff’s concerns, there would be “one law for the rich and another for those of

modest means.” Id.

      Similarly, the Maine Trust is skeptical about the Plaintiff’s claims of mental

and emotional distress as a basis for sealing. Id. at 4-5. The Maine Trust observes

that all civil litigation is stressful for the parties and that Mr. Doe has presented

nothing out of the ordinary. Id.

      The Maine Trust disputes the Plaintiff’s contention that its interest in this case

is merely to satisfy the public’s “morbid craving” for sensationalism. Id. at 5. To the

contrary, the Maine Trust replies, this case involves “the award of a $1.35 billion

state lottery jackpot, and a lawsuit stemming from that award.           This is what

newspapers rightly do.” Id. Moreover, the Maine Times points out that there are

“allegations of misconduct within the lawsuit, such as in the motion for sanctions,”

and these accusations provide “more reasons for public access, not less.” Id.

      Finally, the Maine Trust contends that Mr. Doe’s proposals for redaction are

far too broad because they are not “narrowly tailored to any legitimate privacy

interests.” Id. at 6. The Maine Trust explains that it is not objecting at this point to

redactions as to the identity of the minor daughter and reiterates that it is not

objecting right now to the redaction of the parties’ names. Id. However, the Maine

Trust maintains that the parties’ “private, family matters” are not categorically

subject to redaction. Id. Furthermore, the Maine Trust says that the third category,

“other legal matters involving the parties” is unjustifiably broad. Id. at 6-7. Lastly,



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the Maine Trust disagrees that the fourth category, “the identify of Plaintiff’s agents

and business associates,” “categorically warrant[s] redaction.” Id. at 7.

III.   LEGAL STANDARDS

       A.     The First Amendment Right of Access

       The First Circuit has explained that there are “two related but distinct

presumptions of public access to judicial proceedings and records: a common-law right

of access to ‘judicial documents,’ and a First Amendment right of access to certain

criminal proceedings and materials submitted therein.” United States v. Kravetz, 706

F.3d 47, 52 (1st Cir. 2013) (quoting In re Providence Journal, 293 F.3d 1, 9 (1st Cir.

2002)). In its description of the First Amendment right of access, the First Circuit

was careful to observe that this right of access relates to “certain criminal proceedings

and materials submitted therein.” Id. (emphasis supplied). In Courthouse News

Service v. Quinlan, 32 F.4th 15 (1st Cir. 2022), the First Circuit wrote: “[n]either this

court nor the Supreme Court has recognized any right under the First Amendment

to access documents filed in civil cases.” Id. at 20.

       At the same time, in Courthouse News, the First Circuit noted that the “parties

agree that there is a qualified First Amendment right in the public to access newly

filed complaints.”   Id.   Also in Courthouse News, the First Circuit cited Press-

Enterprise Co. v. Superior Court, 478 U.S. 1, 10-11 (1986) as suggesting that there is

such a right and El Dia, Inc. v. Hernandez Colon, 963 F.2d 488, 495 (1st Cir. 1992) as

suggesting there is not. The First Circuit then resolved the appeal based on the

parties’ agreement that the First Amendment applied. In El Dia, the First Circuit



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wrote that it “seriously question[ed] whether Richmond Newspapers [Inc. v. Virginia,

448 U.S. 555 (1980)] and its progeny carry positive implications favoring rights of

access outside the criminal justice system.” 963 F.2d at 495.

       Based on the unsettled state of Supreme Court and First Circuit authority and,

unlike in Courthouse News, an absence of agreement in this case as to the

applicability of the First Amendment to this civil action, the Court follows the

prudential practice of the First Circuit of “forgoing broad constitutional holdings

unless such holdings are unavoidable.” Sindi v. El-Moslimany, 896 F.3d 1, 30 (1st

Cir. 2018) (citing Hudson Sav. Bank v. Austin, 497 F.3d 102, 106 (1st Cir. 2007) and

El Dia, 963 F.2d at 494). When faced with whether to rest on the First Amendment

issue in Kravetz, the First Circuit generally declined1 to reach the constitutional

claim and instead resolved the public access issue using the standards in the common

law right of access. 706 F.3d at 53. The Court turns therefore to whether the common

law right of public access requires the unsealing of the documents filed under seal in

this case.

       B.       The Common Law Right of Public Access

       The First Circuit extensively discussed the right of public access in Kravetz

and reiterated that “[c]ourts have long recognized ‘that public monitoring of the

judicial system fosters the important values of quality, honest and respect for our

legal system.’” 706 F.3d at 52 (quoting In re Providence Journal, 293 at 9 (quoting




1       In Kravetz, the Court concluded there is no First Amendment right of public access to a Federal
Rule of Criminal Procedure 17(c) subpoena. 706 F.3d at 52-54.

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Siedle, 147 F.3d at 10)). To uphold these values, once it is determined that the

document is a so-called “judicial record,” a presumption that it is public applies. Id.

      The First Circuit explained that a “judicial record” is a document that is

“submitted by parties to aid in the adjudication of” an issue before the court and that

is “meant to impact the court’s disposition of substantive rights.” Id.; accord United

States ex rel. Nargol v. Deputy Orthopaedics, Inc., 69 F.4th 1, 15 (1st Cir. 2023)

(stating judicial records are “those ‘materials on which a court relies in determining

the litigants’ substantive rights’”) (quoting Kravetz, 706 F.3d at 54). Thus, in Kravetz,

a criminal case, the First Circuit decided that there is a right of public access to

sentencing memoranda and support letters intended to influence a sentence. Id. at

56-59. The Kravetz Court rejected the argument that a judicial record need be

disclosed only if it actually influenced a judge’s decision. Id. at 58-59.

      At the same time, the Kravetz Court observed that “[t]hough the public’s right

of access is vibrant, it is not unfettered. Important countervailing interests can, in

given instances, overwhelm the usual presumption and defeat access.” Id. at 59

(quoting Siedle, 147 F.3d at 10). In other words, while the presumption is very broad,

there are exceptional circumstances that may counter it. Therefore, even though a

district court must weigh the presumptive right of public access against competing

interests, the First Circuit cautioned that “‘only the most compelling reasons can

justify non-disclosure of judicial records’ that come within the scope of the common-

law right of access.” Id. (quoting In re Providence Journal, 293 F.3d at 10 (quoting

FTC v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 410 (1st Cir. 1987)).



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      The Kravetz Court resolved one issue: whether there is a right of public access

to civil discovery. There is none. Id. at 55 (“We note that even with respect to civil

discovery . . ., there is no right of public access”); accord Nargol. 69 F.4th at 15. The

First Circuit quoted the United States Supreme Court in Seattle Times Co. v.

Rhinehart, 467 U.S. 20 (1984) as stating, “pretrial depositions and interrogatories are

not public components of a civil trial. Such proceedings were not open to the public

at common law, and, in general, they are conducted in private as a matter of modern

practice.” Kravetz, 706 F.3d at 55 (quoting Seattle Times, 467 U.S. at 33). The

Kravetz Court went on to say that “[c]onsistent with this authority, we also have

concluded that no right of access attaches to civil discovery motions themselves or

materials filed with them.” Id.

      In balancing the competing interests in cases where the presumption of public

access applies, the district court should consider whether the “personal privacy

interests of third parties” are at stake. Id. at 61. “[P]rivacy rights of participants and

third parties are among those interests which, in appropriate cases, can limit the

presumptive right of access to judicial records.” Id. at 62 (quoting Standard Fin.

Mgmt. Corp., 830 F.2d at 411) (quotation marks omitted). The First Circuit directed

district courts to “weigh heavily” the privacy interests of third parties in the court’s

balancing analysis.

      In addition, the First Circuit directed the district courts to “consider the degree

to which the subject matter is traditionally considered private rather than public.”

Id. (quoting United States v. Connolly (In re Boston Herald, Inc.), 321 F.3d 174, 190



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(1st Cir. 2003)).   “Financial records of a wholly owned business, family affairs,

illnesses, embarrassing conduct with no public ramifications, and similar matters

will weigh more heavily against access than conduct affecting a substantial portion

of the public.” Id. (quoting United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir.

1995)). Addressing sentencing letters, the First Circuit wrote that “discussion of the

ill health of members of the authors’ families, incidents of domestic violence, and

other domestic relations matters” involves “highly personal” information and

“appears to have no direct bearing on the public’s assessment of the sentences

imposed.” Id. at 62.

      The Kravetz Court also discussed the right of public access to medical

information. Id. at 63. It began with the premise that “[m]edical information is . . .

‘universally presumed to be private, not public.’” Id. Even so, “[a]cknowledging the

presumptively private nature of medical information does not end the matter”

because “[t]he privacy interest in medical information is ‘neither fundamental nor

absolute.’” Id. (citation omitted). In this context, the Kravetz Court quoted the

Second Circuit in saying that “[c]ourts have long declined to allow public access

simply to cater to a morbid craving for that which is sensational and impure.” Id.

(quoting Amodeo, 71 F.3d at 1051).

      A special consideration is the fact that the Maine Trust, a member of the press,

is seeking unsealing. Referring to access to public criminal trials, the United States

Supreme Court has written,

      Instead of acquiring information about trials by firsthand observation
      or by word of mouth from those who attended, people now acquire it

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      chiefly through the print and electronic media. In a sense, this validates
      the media claim of functioning as surrogates for the public. While media
      representatives enjoy the same right of access as the public, they often
      are provided special seating and priority of entry so that they may report
      what people in attendance have seen and heard. This ‘[contributes] to
      public understanding of the rule of law and to comprehension of the
      functioning of the entire criminal justice system. . ..

Richmond Newspapers, Inc., 448 U.S. 555, 573 (1980) (quoting Nebraska Press Ass’n

v. Stuart, 427 U.S. 539, 587 (1976) (Brennan, J. concurring)). These observations

about the vital role of the press in monitoring the courts extend beyond criminal law

to the civil administration of justice.

IV.   DISCUSSION

      A.      The Analytic Approach

      Consistent with First Circuit precedent, the Court first asks whether the

documents subject to this motion are judicial records, that is “materials on which the

court relies in determining the litigants’ substantive rights.”     Id. at 54.     If the

documents fall within the definition of judicial records to which the presumptive right

of public access applies, the First Circuit directs the district courts to “carefully

balance the presumptive right of access against the competing interests that are at

stake in a particular case.” Id. at 59. In doing so, the First Circuit has cautioned

that “‘only the most compelling reasons can justify non-disclosure of judicial records’

that come within the scope of the common-law right of access.” Id. In its analysis of

each document, the Court has reviewed the document with the names of the parties

and the minor child redacted to determine what impact the redaction would have on

unsealing.

      B.     Matters Not At Issue
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      Although it reserves the right to do so, the Maine Trust is not now seeking the

disclosure of the parties’ or their minor child’s names. Reply at 6 (“[T]he Maine Trust

does not object to redacting the identity of the parties’ daughter, nor is it at this point

moving to oppose pseudonymity”). The Court has not therefore reached the question

of whether the adult parties in this case may continue to proceed under pseudonyms.

See Doe v. Mills, 39 F.4th 20, 26 (1st Cir. 2022) (discussing the Third Circuit multi-

factor test to determine whether parties may proceed under pseudonyms).

      C.     Newsworthiness

      Mr. Doe and the Maine Trust disagree about whether his winning the lottery

and filing this lawsuit are newsworthy. Mr. Doe characterizes the Maine Trust’s

motion to unseal as reflecting its “interest in catering to the public’s craving for

sensationalism.” Pl.’s Opp’n at 1. Mr. Doe argues that his and his child’s privacy

concerns “override the public’s ‘morbid craving’ for sensationalism.” Id. at 6 (quoting

Amodeo, 71 F.3d at 1051). The Maine Trust responds that it “seeks to report on a

matter of public interest involving governmental processes—the award of a $1.35

billion state lottery jackpot, and a lawsuit stemming from that award. This is what

newspapers rightly do.” Reply at 5.

      On this point, the Maine Trust has the better argument. Federal courts are

not arbitrators of newsworthiness. That is an editorial, not a judicial decision. In

rare cases, even if something may be of interest to the public, such as the names of

sexual assault victims or juvenile offenders, the courts restrict dissemination, and

many news organizations follow similar self-imposed guidelines.                 But those



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restrictions are grounded on the notion that there is a narrow band of information

described in Kravetz, where privacy concerns outweigh the right of public access, not

that a judge has made an editorial decision about newsworthiness.

       D.      The Balancing Analysis

               1.      The Motion to Seal (ECF No. 3)

       On November 15, 2023, Mr. Doe filed a motion to seal pursuant to District of

Maine Local Rule 157.6(b). 2 The Court reviewed the motion and sees no basis for it

to remain sealed. The Court ORDERS that the Rule 157.6(b) Motion for Leave to File

Document Under Seal (ECF No. 3) be UNSEALED thirty days after the issuance of

this Order, if not appealed, see FED. R. APP. P. 4(a)(1)A), and if appealed, shall remain

SEALED until further order of this Court or the Court of Appeals for the First Circuit.

               2.      Motion for Leave to Proceed Under Pseudonym and
                       for Protective Order (ECF No. 4)

       This motion contains the actual names of Mr. Doe and Ms. Smith. The Court

has reviewed the motion to determine whether if the actual names were redacted, the

motion should remain sealed. The Court concludes that, once redacted, the motion

itself contains virtually no specific information that would justify sealing. The Court

therefore ORDERS that the Motion for Leave to Proceed Under Pseudonym and for

Protective Order (ECF No. 4) be redacted so that the actual names of Mr. Doe and Ms.

Smith not be revealed and that, once done, the motion itself be UNSEALED thirty




2       As Ms. Smith points out, Mr. Doe cites the wrong local rule. Local Rule 157.6(b) is part of the
criminal rules, which are based on different considerations than the civil rules. See D. ME. LOC. R.
157.6. Sealing documents in civil actions is covered by Local Rule 7A. D. ME. LOC. R. 7A. The
distinctions between the two rules are not, however, critical to this Court’s conclusions.

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days after the issuance of this Order, if not appealed, and, if appealed, shall remain

SEALED until further order of this Court or the Court of Appeals for the First Circuit.

      Mr. Doe attached two documents to the motion: 1) Declaration of Gregory

Brown, and 2) Letter from Wesley Brown, Principal of CogentBlue Wealth Advisors

dated October 30, 2023. Id., Attach. 1, Decl. of Gregory Brown; id., Attach. 2, Letter

from Wesley Brown To Whom It May Concern. In his Declaration, Attorney Brown

discusses the real names and whereabouts of Mr. Doe and Ms. Smith. In her filing

dated November 29, 2023, Ms. Smith revealed that she resides in Dracut,

Massachusetts. Def.’s Rule 7.1 Disclosure Statement (ECF No. 17). This filing was

not sealed and remains a matter of public record. The town and state of Mr. Doe’s

current residence has not been disclosed.

      Once the actual names of both Mr. Doe and Ms. Smith and whereabouts of only

Mr. Doe are redacted, including the town and state of his current residence, Attorney

Brown’s sworn declaration contains no specific information that would justify sealing.

The Court therefore ORDERS that the Declaration of Gregory Brown be redacted so

that the actual names of Mr. Doe and Ms. Smith and his town and state of residence

not be revealed and that, once done, the declaration itself be UNSEALED thirty days

after the issuance of this Order, if not appealed, and, if appealed, shall remain

SEALED until further order of this Court or the Court of Appeals for the First Circuit.

Motion for Leave to Proceed Under Pseudonym and for Protective Order, Attach. 1,

Decl. of Gregory Brown (ECF No. 4). The October 30, 2023 letter from Wesley Brown

has already been redacted so that Mr. Doe’s name is not revealed, and, as redacted,



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the CogentBlue letter contains no specific information that would justify sealing. The

Court ORDERS that the Wesley Brown To Whom It May Concern Letter be

UNSEALED thirty days after the issuance of this Order, if not appealed, or, if

appealed, shall remain SEALED until further order of this Court or the Court of

Appeals for the First Circuit.

             3.     The Non-Disclosure Agreement (ECF No. 7)

      On November 14, 2023, Attorney Brown attached the NDA to the original

complaint, and it has been sealed. Compl., Attach. 1, Nondisclosure Agreement. On

November 15, 2023, Attorney Brown filed a revised NDA, which further redacted

certain information. Additional Attachs. (ECF No. 7). As redacted on November 15,

2023, the Court concludes that the remaining information in the NDA does not justify

its sealing. The Court arrives at this conclusion in part from the fact that Mr. Doe

has already made public the existence of the NDA and has quoted select provisions

from the NDA in the complaint. The Court ORDERS that the NDA at ECF Number

7 be UNSEALED thirty days after the issuance of this Order, if not appealed, or, if

appealed, shall remain SEALED until further order of this Court or the Court of

Appeals for the First Circuit, and that the NDA attached to the original complaint

remain SEALED.

             4.     The Second Motion to Seal (ECF No. 8)

      On November 15, 2023, Mr. Doe filed a second motion to seal pursuant to

District of Maine Local Rule 157.6(b). The Court reviewed the motion and sees no

basis for it to remain sealed. The Court ORDERS that the Rule 157.6(b) Motion to



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Seal Exhibit A to Complaint (ECF No. 8) be UNSEALED thirty days after the

issuance of this Order, if not appealed, or if appealed, shall remain SEALED until

further order of this Court or the Court of Appeals for the First Circuit.

             5.     The Third Motion to Seal and Diversity Disclosure
                    Statement (ECF No. 13)

      On November 21, 2023, Mr. Doe filed a third motion to seal pursuant to District

of Maine Local Rule 157.6(b). Rule 157.6(b) Motion to Seal Diversity Disclosure

Statement (ECF No. 13). The Court reviewed the motion and sees no basis for it to

remain sealed. The Court ORDERS that the Rule 157.6(b) Motion to Seal Diversity

Disclosure Statement (ECF No. 13) be UNSEALED thirty days after the issuance of

this Order, if not appealed, or if appealed, shall remain SEALED until further order

of this Court of the Court of Appeals for the First Circuit.

      Mr. Doe attached to the third motion to seal a disclosure of the actual names

and addresses of the parties to comply with Federal Rule of Civil Procedure 7.1. Rule

157.6(b) Motion to Seal Diversity Disclosure Statement, Attach. 1, Diversity Disclosure

Statement (ECF No. 13).       As the unsealing of attachment one, the Diversity

Disclosure Statement, would reveal the actual names and street addresses of the

parties, the Court ORDERS that it remain SEALED.

             6.     Defendant’s Request for Hearing Re Discovery
                    Dispute Under Local Rule 26(b) (ECF No. 26)

      On January 19, 2024, Ms. Smith filed a motion for a hearing regarding a

discovery dispute. Def.’s Req. for Hr’g Re Disc. Dispute Under Local Rule 26(b) (ECF

No. 26). In Kravetz, the First Circuit “concluded that no right of access attaches to



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civil discovery motions themselves or materials filed with them.” 607 F.3d at 55.

Applying First Circuit law, the Court concludes and ORDERS that the Defendant’s

request in ECF Number 26 will remain SEALED.

             7.    Plaintiff’s Motion to File First Amended Complaint
                   (ECF No. 28); Defendant’s Opposition to Motion to
                   File First Amended Complaint Under Seal (ECF No.
                   48); Plaintiff’s Reply to Defendant’s Opposition to
                   Motion to File First Amended Complaint Under Seal
                   (ECF No. 52)

      On February 2, 2024, Mr. Doe filed a motion to file an amended complaint and

to file it under seal. Pl.’s Mot. to File First Am. Compl. Under Seal (ECF No. 28).

With the motion, Mr. Doe filed a proposed amended complaint, id., Attach., First Am.

Compl. for Inj. Relief and Damages (First Am. Compl.), and Wesley Brown’s October

30, 2023 letter that the Court has already unsealed. Id., Attach. 2, Wesley Brown To

Whom It May Concern Letter.

      The First Amended Complaint alleges that Mr. Doe and Ms. Smith entered

into the NDA to protect their daughter and the need to do so was encouraged by

recommendations from Mr. Doe’s security team. See First Am. Compl. ¶¶ 6-18. Next,

the First Amended Complaint describes in some detail, the factual grounds for Mr.

Doe to have filed this lawsuit. Id. ¶¶ 25-40. Therein, Mr. Doe claims that




                                   . Id.

      Although the law protects the confidentiality of certain family matters, the

Court does not view the allegations in the First Amended Complaint to fall within

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the sensitive family matters exception to the presumption of public access. See

Kravetz, 706 F.3d at 62 (describing sealed matters may include “discussion of the ill

health of members of the authors’ families, incidents of domestic violence, and other

domestic relations matters” that involve “highly personal” information).

      Mr. Doe is alleging that Ms. Smith breached a NDA by telling third parties

about his lottery winning. The first alleged breach of the NDA is that



                                                                    . Id. ¶¶ 27-33. The

mere fact that Mr. Doe is alleging that

                     does not, in the Court’s view, rebut the presumption of public

access. Neither does the fact that three of the third parties are

                          . The fact that family members, not other third parties, are

alleged to have received the information of Mr. Doe’s new-found wealth does not,

without more, mean that these allegations in the amended complaint should be

hidden from the public. Kravetz, 706 F.3d at 62.

      By contrast, Mr. Doe attached to the amended complaint an affidavit signed

by Ms. Smith and filed in Family Court. First Am. Compl. at 12-15. In the affidavit,

even as redacted, the following information is revealed: (1) the first name of the

daughter, (2) the daughter’s grade in school, (3) the daughter’s age, (4) the state of

Mr. Doe’s residence, (5) the details of a                    , (6) allegations about

                            , and (7) allegations about

                 . Id. In the Court’s view, the affidavit contains highly personal



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family information, largely tangential to whether Ms. Smith breached the NDA, and

should remain sealed. See Kravetz, 706 F.3d at 62 (describing sealed matters to

include “discussion of the ill health of members of the authors’ families, incidents of

domestic violence, and other domestic relations matters” that involve “highly

personal” information). The Court considered further extensive redaction of the

attached affidavit but concluded that the redactions would have to be so extensive

that the revealed portion would be meaningless, and the better course is to keep it

sealed. The Court ORDERS the attachment to the Amended Complaint SEALED.

      With his amended complaint, Mr. Doe filed a motion to place not only the

amended complaint, but his motion under seal. Ms. Smith objected, and Mr. Doe

replied. Having reviewed the contents of those filings, the Court is not convinced that

they rebut the presumption of public access and the Court ORDERS that Plaintiff’s

Motion to File First Amended Complaint (ECF No. 28), Defendant’s Opposition to

Motion to File First Amended Complaint Under Seal (ECF No. 48), and Plaintiff’s

Reply to Defendant’s Opposition to Motion to File First Amended Complaint Under

Seal (ECF No. 52) be UNSEALED thirty days after the issuance of this Order, if not

appealed, or if appealed, shall remain SEALED until further order of this Court or

the Court of Appeals for the First Circuit.

             8.     Defendant’s Motion for Sanctions (ECF No. 31);
                    Plaintiff’s Response in Opposition to Defendant’s
                    Motion for Sanctions (ECF No. 50); Defendant’s
                    Reply in Support of her Motion for Sanctions (ECF
                    No. 56)




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      On February 7, 2024, Ms. Smith filed a motion for sanctions against Mr. Doe,

claiming that many of the allegations in the proposed First Amended Complaint were

false. Def.’s Mot. for Sanctions (ECF No. 31). Specifically, Ms. Smith states that it

was

                                                                                       .

Id. at 2. Moreover, she attaches a sworn declaration from                        to this

effect. Id., Attach. 1, Decl. of                   . In the motion, Ms. Smith avers

that Mr. Doe’s lawsuit is grounded upon false allegations and was filed for an

improper purpose, namely



                       . Id. at 6-7. Ms. Smith seeks dismissal of the lawsuit with

prejudice and an order requiring Mr. Doe to pay her attorney’s fees. Id. at 8.

      Although a motion for sanctions can arise during a discovery dispute, this

motion does not allege a discovery violation and therefore is not protected from

disclosure based on the principle that discovery is not subject to public access.

Instead, this motion for sanctions alleges that Mr. Doe initiated the lawsuit for an

ulterior and improper purpose, an allegation that is not a matter of discovery and is

therefore subject to the normal rules of public access. The Court reviewed the motion

and concludes that the presumption of public access applies, and the motion should

be unsealed. The Court ORDERS the motion for sanctions UNSEALED thirty days

after the issuance of this Order, if not appealed, and if not appealed, shall remain

SEALED until further order of this Court or the Court of Appeals for the First Circuit.



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         Ms. Smith attached to her motion four documents: (1) a sworn declaration from

Mr. Doe’s          , (2) a sworn declaration from Ms. Smith, (3) an email dated January

4, 2024 from Attorney Nuzzi to Attorney Brown, and (4) an affidavit from Attorney

Nuzzi.

         In the            declaration, all references to the names and residences of

individuals have been redacted. See id., Attach. 1, Decl. at 1. Based on this Court’s

review of the               declaration, the Court sees nothing that would rebut the

presumption of public access and orders its unsealing.

         The sworn declaration from Ms. Smith outlines the events leading up to her

signing the NDA, her knowledge of Mr. Doe’s revelation of his lottery winnings to

others, and some details of a custodial dispute between Ms. Smith and Mr. Doe over

their daughter. See id., Attach. 2, Decl. at 1. The Court reviewed Ms. Smith’s sworn

declaration and notes that in addition to the parties’ names not being revealed, their

child’s name is not disclosed, nor is there any detailed information about Mr. Doe,

Ms. Smith, or their child that would give a third-party identifying information about

them. 3 The Court thus perceives nothing in the document that would rebut the

presumption of public access and orders its unsealing.




3       Although the federal and state standards may differ, courts in Maine routinely issue publicly
available opinions about divorce cases where the parties’ names are revealed, discussing sensitive
family matters, and often describing detailed financial information. See Ewing-Wegmann v. Allerding,
2023 ME 47, ¶¶ 6-7, 299 A.3d 609 (discussing allegations of inappropriate touching of a child by the
father); Sears v. Sears, 2023 ME 45, ¶¶ 2-9, 299 A.3d 15 (describing detailed financial information
about divorcing couple). Maine courts do not reveal the names of a minor child. See Ewing-Wegmann,
2023 ME 47, ¶¶ 4-9. Here, at this point, the parties’ and the child’s names are protected and the
revelation of the details of the disputes between the parties would be no greater than in the courts of
Maine in a divorce proceeding.

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      The email dated January 4, 2024 from Attorney Nuzzi to Attorney Brown

contains no information that should not be revealed to the public, and the Court

orders its unsealing. See id., Attach. 3, Email at 1.

      The declaration of Attorney Nuzzi provides some background behind Ms.

Smith’s decision to file a motion for sanctions, including a prior demand that

                             . See id., Attach. 4, Decl. of Daniel A. Nuzzi at 1. The

Court sees nothing in the affidavit that would countermand the presumption of public

access.    The Court ORDERS all four attachments to the motion for sanctions

UNSEALED thirty days after the issuance of this Order, if not appealed, or if

appealed, shall remain SEALED until further order of this Court or the Court of

Appeals.

      Finally, the Court reviewed the contents of Mr. Doe’s response to Ms. Smith’s

motion for sanctions and Ms. Smith’s reply and concludes that the presumption of

public access requires that these memoranda be unsealed. The Court ORDERS that

Plaintiff’s Response in Opposition to Defendant’s Motion for Sanctions (ECF No. 50)

and Defendant’s Reply in Support of her Motion for Sanctions (ECF No. 56) be

UNSEALED thirty days after the issuance of this Order, if not appealed, or if

appealed, shall remain SEALED until further order of this Court or the Court of

Appeals.

              9.    Plaintiff’s Rule 157.6(b) Motion to Seal Defendant’s
                    Motion for Sanctions (ECF No. 34); Defendant’s
                    Opposition to Motion to Seal (ECF No. 36); Plaintiff’s
                    Reply to Defendant’s Opposition to Motion to Seal
                    (ECF No. 37)



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        On February 7, 2024, Mr. Doe filed an emergency motion to seal Ms. Smith’s

motion for sanctions. Pl.’s Rule 157.6(b) Mot. to Seal Def.’s Mot. for Sanctions (ECF

No. 34) (Pl.’s Sealing Mot.). On February 7, 2024, the Court granted the emergency

motion to seal with a line order. Order (ECF No. 35). 4 On February 8, 2024, Ms.

Smith opposed the motion to seal. Def.’s Opp’n to Mot. to Seal (ECF No. 36) (Def.’s

Sealing Opp’n). On February 15, 2024, Mr. Doe filed a reply. Pl.’s Reply to Def.’s

Opp’n to Mot. to Seal (ECF No. 37) (Pl.’s Sealing Reply).

        The basis of Mr. Doe’s motion to seal is that the information in the motion for

sanctions is sufficient to allow the media and general public to connect the

                   family court case to Mr. Doe and to identify him, Ms. Smith, and their

daughter. Pl.’s Sealing Mot. at 1-2. Mr. Doe goes on to say that “[f]amily court counsel

for the parties have jointly moved to impound the                               family court filings,

but the motion to impound is still pending and has not been acted upon by the

                   family court.” Id. at 2. Ms. Smith opposed the sealing based on the

principles of public access the Court has outlined above. Def.’s Sealing Opp’n at 1-6.

Ms. Smith emphasizes that much about the facts in this case are already in the public

domain and that Mr. Doe’s complaint, which is not sealed, already reveals substantial

information about the underlying facts Id. In his reply, Mr. Doe says that Ms. Smith

filed the Rule 11 motion without seal for improper purposes, to win in the court of




4        Unless it is absolutely certain that a motion to seal is non-meritorious, a court will typically
initially grant the motion subject to further briefing and ruling. The Court did so in this instance, not
addressing the merits of the motion to seal, but because if the Court denied the motion, the information
would be made public, thereby effectively reaching the merits of the motion moot.

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public opinion and to identify Mr. Doe and their minor daughter to the media and the

general public. Pl.’s Reply at 1-2.

      As the Court has determined that the Rule 11 motion should not be sealed, the

Court also concludes that the arguments about whether it should be sealed are also

subject to public access.    See Kravetz, 706 F.3d at 52; Nargol, 69 F.4th at 15.

Furthermore, to the extent Mr. Doe is concerned that the contents of the Family Court

docket are accessible to the public, his relief should be with the Family Court, not

this Court, and in fact, he has already moved the Family Court to seal that docket.

There is no indication whether the Family Court judge has ruled on the motion to

seal its docket, but the decision whether to do so should rest with that judge.

      The Court ORDERS that Plaintiff’s Rule 157.6(b) Motion to Seal Defendant’s

Mot. for Sanctions (ECF No. 34), Defendant’s Opposition to Motion to Seal (ECF No.

36), and Plaintiff’s Reply to Defendant’s Opposition to Motion to Seal (ECF No. 37)

be UNSEALED thirty days after the issuance of this Order, if not appealed, or, if

appealed, shall remain SEALED until further order of this Court or the Court of

Appeals for the First Circuit.

             10.    Transcript of February 6, 2024 Discovery
                    Conference (ECF No. 39); Plaintiff’s Motion for
                    Redaction (ECF No. 41); Defendant’s Partial
                    Opposition to Plaintiff’s Motion for Redaction (ECF
                    No. 49); Plaintiff’s Reply to Defendant’s Partial
                    Opposition to Plaintiff’s Motion for Redaction (ECF
                    No. 51)

      On February 16, 2024, the Clerk of Courts docketed a transcript of a February

6, 2024 discovery conference before Magistrate Judge Karen Wolf. Tr. of Proceedings,



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Disc. Hr’g (ECF No. 39). The Court placed this transcript under seal. Id. On

February 28, 2024, Ms. Smith filed a partial opposition to the motion for redaction.

Def.’s Partial Opp’n to Pl.’s Mot. for Redactions (ECF No. 49). On February 29, 2024,

Mr. Doe replied. Pl.’s Reply to Def.’s Partial Opp’n to Pl.’s Mot. for Redactions (ECF

No. 51).

      The Court does not address the merits of these motions because the present

issue before the Court is whether the public has a right of access to docketed matters

in this case, and, for the reasons the Court explained, there is no right of public access

to discovery in a civil action in the First Circuit. Therefore, there is no right of public

access to a hearing addressing discovery matters. Finally, there is no right of public

access to arguments about redactions to a sealed transcript. The Court ORDERS that

the transcript (ECF No. 39), the motion for redaction (ECF No. 41), the partial

opposition (ECF No. 49), and the reply (ECF No. 51) remain SEALED.

V.    OBSERVATIONS

      In this order, the Court discussed the sealing of docket entries in this case and

has not reached the question of the use of pseudonyms, especially if the case proceeds

to trial. In 2022 and 2023, the First Circuit addressed the use of pseudonyms in

litigation in three cases: Doe v. Town of Lisbon, 78 F.4th 38 (1st Cir. 2023); Doe v.

Mass. Inst. of Tech., 46 F.4th 61 (1st Cir. 2022); and Doe v. Mills, 39 F.4th 20 (1st Cir.

2022). As the caselaw has repeatedly shown, even when pseudonyms are allowed

during the discovery phase in the run-up to trial, there is no guarantee that the Court

will sanction their use if the case goes to trial. See, e.g., Tourangeau v. Nappi



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(rejecting a request to use pseudonyms generally at trial but allowing their use for

publicly available exhibits); see also Doe v. Mass. Inst. of Tech., 46 F.4th at 73 (“[A]n

order granting pseudonymity should be periodically reevaluated if and when

circumstances change”).

      In 2022, the First Circuit joined its sister circuits in ruling that a district court

order denying a motion to proceed by pseudonym is immediately appealable under

the collateral order doctrine. Doe v. Mass. Inst. of Tech., 46 F.4th 61, 66-67 (1st Cir.

2022). If the Doe holding extends beyond pseudonyms to docket entries, Mr. Doe

would have a right to appeal this order and the Maine Trust might have a right to

appeal the aspects of this Order unfavorable to it. To preserve what may be rights of

interlocutory appeal, the Court is staying this Order to the extent it unseals currently

sealed docket entries, and the Court redacts information from the Order that Mr. Doe

contends should remain sealed. If Mr. Doe does not appeal, the sealed docket entries

and the redactions in this Order will be unsealed and unredacted. If Mr. Doe appeals,

the stay will remain effective pending further order.

      The second question is the length of time this Order should remain redacted,

and the docket entries sealed. As a precaution, the Court concludes that the sealed

docket entries and redactions should last the thirty-day period for appeal under

Federal Rule of Civil Procedure 4(a).

      To address a further point, with any contested sealing order, where the party

seeking the unsealing does not know the contents of the sealed matters, a court



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cannot publicly reveal the sealed information until the resolution of the appeal. A

publicly revealed secret is no longer a secret. So, in redacting this Order and in

continuing to seal the sealed docket entries, the Court acceded to Mr. Doe’s more

expansive view of what should be sealed, even though in this Order, the Court

declined to accept Mr. Doe’s view. The Court’s redactions do not reflect the Court’s

opinion, only the Court’s effort to preserve Mr. Doe’s right to appeal its opinion.

      In doing so, the Court is aware that the Maine Trust has a right to know the

basis of its ruling so that it may effectively argue the appeal, if there is one. The

Court reviewed the Order with a view toward whether it contains enough information

to allow the Maine Trust to understand its bases and present its arguments on

appeal. Even though the Maine Trust does not know the contents of the sealed and

redacted information, there should be enough information about the Court’s

reasoning and order to allow its participation in any appeal.

      Finally, the Court’s redactions and sealing orders do not apply to the

immediate parties, Mr. Doe and Ms. Smith, since they already have access to the

redacted and sealed information. The Court orders that an unredacted version of this

Order be made available to Mr. Doe and Ms. Smith only.

VI.   CONCLUSION

      The Court GRANTS in part and DENIES in part the Maine Trust for Local

News, L3C d/b/a Portland Press Herald/Maine Sunday Telegram’s Motion to Unseal

by Intervenor Maine Trust for Local News (EFC No. 43).




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      The Court ORDERS that a redacted version of this Order be publicly docketed

and that only Plaintiff John Doe and Defendant Sarah Smith be given immediate

access to an unredacted version of the Order. If this Order is appealed, this redacted

Order will remain effective pending appeal; however, if this Order is not appealed,

the Court ORDERS that an unredacted version of this Order be publicly docketed in

thirty days.

      The Court further ORDERS that its Order unsealing docket entries is

STAYED for a period of thirty days. If the Order is appealed, the order unsealing

docket entries will remain STAYED pending appeal and, if the Order is not appealed,

the Court ORDERS that the currently sealed docket entries to be unsealed under this

Order, be unsealed and made publicly accessible in thirty days.

      SO ORDERED.

                                    /s/ John A. Woodcock, Jr.
                                    JOHN A. WOODCOCK, JR.
                                    UNITED STATES DISTRICT JUDGE

Dated this 8th day of May, 2024




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